           Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 1 of 27




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X

725 EATERY CORP., etc., et ano.,                              :
                                            Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 4431 (WHP)
THE CITY OF NEW YORK, et al.,
                                             Defendants. :
-----------------------------------------------------------------X

59 MURRAY ENTERPRISES INC., etc., et al.,                     :
                            Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 4432 (WHP)
THE CITY OF NEW YORK, et al.,
                                             Defendants. :
-----------------------------------------------------------------X

CLUB AT 60TH STREET, INC., etc., et al.,                      :
                                Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 8333 (WHP)
THE CITY OF NEW YORK,
                                             Defendant.        :
------------------------------------------------------------------X
336 LLC., etc., et al.,                                        :
                                             Plaintiffs,
                                                               :
                  - against -                                         Civil Action No.
                                                               :      18 CV 3732 (WHP)
THE CITY OF NEW YORK,
                                             Defendant.        :
------------------------------------------------------------------X


 NOTICE OF FILING OF PLAINTIFFS’ JOINT REPLY APPENDIX (Vol. III of
IV) IN SUPPORT OF PLAINTIFFS’ REPLY TO DEFENDANT’S RESPONSE TO
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
         Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 2 of 27




        PLEASE TAKE NOTICE, that Plaintiffs hereby file following Joint Reply
Appendix (Vol. III of IV) in support of their pending Motion for Preliminary Injunction
in the above-captioned actions.

Dated: New York, New York
March 15, 2019

Respectfully,

DANIEL A. SILVER                              JOHN H. WESTON
SILVER & SILVER                               G. RANDALL GARROU
One Liberty Square                            WESTON, GARROU & MOONEY
New Britain, Connecticut 06050-0698           12121 Wilshire Boulevard, Suite 525
(860) 225-3518                                Los Angeles, CA 90025-1176
                                              (310) 442-0072
- and-
                                              - and -
JENNIFER KINSLEY
Kinsley Law Office                            ALAN M. ABRAMSON
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(513) 708-2595                                New York, New York 10013
                                              (212) 226-7098
Attorneys for Plaintiffs
725 Eatery Corp., etc., et ano.               Attorneys for Plaintiffs
                                              Club At 60th Street, Inc., etc., et al.
By: s/Jennifer Kinsley
Jennifer Kinsley                              By: s/John Weston
                                              John Weston
EDWARD S. RUDOFSKY
ZANE and RUDOFSKY                             ERICA DUBNO
601 West 26th Street, # 1315                  FAHRINGER & DUBNO
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(212) 245-2222                                New York, New York 10017
                                              (212) 319-5351
Attorneys for Plaintiffs
59 Murray Enterprises, Inc., etc.             Attorney for Plaintiffs 336 LLC, et al.

By: s/Edward S. Rudofsky                      By: s/Erica T. Dubno
Edward S. Rudofsky                            Erica T. Dubno




                                          2
           Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 3 of 27




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X

725 EATERY CORP., etc., et ano.,                              :
                                            Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 4431 (WHP)
THE CITY OF NEW YORK, et al.,
                                             Defendants. :
-----------------------------------------------------------------X

59 MURRAY ENTERPRISES INC., etc., et al.,                     :
                            Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 4432 (WHP)
THE CITY OF NEW YORK, et al.,
                                             Defendants. :
-----------------------------------------------------------------X

CLUB AT 60TH STREET, INC., etc., et al.,                      :
                                Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 8333 (WHP)
THE CITY OF NEW YORK,
                                             Defendant.        :
------------------------------------------------------------------X
336 LLC., etc., et al.,                                        :
                                             Plaintiffs,
                                                               :
                  - against -                                         Civil Action No.
                                                               :      18 CV 3732 (WHP)
THE CITY OF NEW YORK,
                                             Defendant.        :
------------------------------------------------------------------X


            PLAINTIFFS’ JOINT REPLY APPENDIX (Vol. III of IV)
     IN SUPPORT OF PLAINTIFFS’ REPLY TO DEFENDANT’S RESPONSE TO
           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




                                                          3
         Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 4 of 27




                      PLAINTIFFS’ JOINT REPLY APPENDIX
                                  Vol. III of IV
                                (pp. 2005-2023)

       Per the Court’s Order of November 7, 2018, Plaintiffs in each of the four above-

entitled actions hereby submit their unitary Joint Reply Appendix consisting exclusively

of evidentiary documents upon which some or all of the Plaintiffs may choose to rely in

their Reply to Defendant’s Response to Plaintiffs’ Motion for Preliminary Injunction.

The inclusion of documents in this Joint Reply Appendix does not automatically signify

an endorsement or promotion of any of these documents by any individual Plaintiff or

group of Plaintiffs. That will depend on specific adoption of any of these documents by

any Plaintiffs or Group of Plaintiffs in documents they may file with the Court.

       The reference below to the “Club Plaintiffs” refers to all the Plaintiffs in Action

Nos. 02 CV 4431, 02 CV 4432 and 02 CV 8333. The reference below to the “Bookstore

Plaintiffs” refers to all the Plaintiffs in Action No. 18 CV 3732.


                                TABLE OF CONTENTS

                                                                        Joint
                                                                        Reply
 Tab No.                     Description of Document                    Appendix
                                                                        Starting
                                                                         Page #

                    DOCUMENTS SUBMITTED BY CLUB
                            PLAINTIFFS

                                   Vol. I of IV
                                 (pp. 1882-1981)
   A         Club Plaintiffs’ First Supplemental Request to Take        1882
             Judicial Notice



                                              4
    Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 5 of 27



       Exhibit 2-A: Resolution 0208-1998, approving Text          1891
       Amendment N 980135 ZRY (“1998 Amendments”),
       as published in Vol. I of Proceedings of the Council
       of the City of New York for the period January 7,
       1998 to June 24, 1998
       Exhibit 3-A :Resolution 2096-2001, approving Text          1914
       Amendment N 010508 ZRY (“2001 Amendments”),
       as signed by the Clerk of the City of New York
       Exhibit 4-A: Portions of NYC Council Resolution            1933
       586-2004 amending, AZR 32-01 & 42-01 regarding
       adult businesses (“2004 Amendments”), as published
       in Vol. II, Part I, of Proceedings of the Council of the
       City of New York for the period July 21, 2004 to
       December 15, 2004
       Exhibit 5-A: Portions of NYC Council Resolution            1941
       0499-2010 amending, AZR 32-01 & 42-01 regarding
       adult businesses) (“2010 Amendments”), as
       published in Vol. II, Part I, of Proceedings of the
       Council of the City of New York for the period July
       29, 2010 to December 20, 2010
       Exhibit 82: Excerpts from NYAC Title 28, Chapter 1, 1950
       Subchapter 1, Article 101 (entitled “General”)
       Exhibit 83: Excerpts from NYAC Title 28, Chapter 1, 1952
       Subchapter 1, Article 102 (entitled “Applicability”)
       Exhibit 84: Excerpts from NYAC Title 28, Chapter 1, 1954
       Subchapter 1, Article 104 (entitled “Construction
       Documents”)
       Exhibit 85: Excerpts from NYAC Title 28, Chapter 1, 1960
       Subchapter 1, Article 105 (entitled “Permits”)
       Exhibit 86: Excerpts from NYAC Title 28, Chapter 1, 1966
       Subchapter 1, Article 116 (entitled “Inspections and
       Signoff of Completed Work”)
       Exhibit 87: Excerpts from NYAC Title 28, Chapter 1, 1968
       Subchapter 1, Article 117 (entitled “Places of
       Assembly”)
       Exhibit 88: Excerpts from NYAC Title 28, Chapter 1, 1970
       Subchapter 1, Article 118 (entitled “Certificates of
       Occupancy”)

B      Reply Declaration of Michael Berzak Re: Permitting         1974
       Issues Presented in Plaintiffs’ Motion for
       Preliminary Injunction


                                      5
         Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 6 of 27




   C        Declaration of G. Randall Garrou Re Source of         1978
            City’s NYCAC Provisions Utilized by Plaintiffs


                                 Vol. II of IV
                               (pp. 1982-2004)

   D        Reply Declaration of Michael Berzak Re: Adult         1982
            Business Sites in Support of Plaintiffs’ Motion for
            Preliminary Injunction – Part One


                                Vol. III of IV
                               (pp. 2005-2023)

   D        Reply Declaration of Michael Berzak Re: Adult         2005
            Business Sites in Support of Plaintiffs’ Motion for
            Preliminary Injunction – Part Two


                                Vol. IV of IV
                               (pp. 2024-2098)

   D        Reply Declaration of Michael Berzak Re: Adult         2024
            Business Sites in Support of Plaintiffs’ Motion for
            Preliminary Injunction – Part Three

            Exhibit 1K(Amended): Map Showing Maximum              2030
            Number and Location of Manhattan Relocation
            Areas

            Exhibit 89: New York Times Article                    2032

              DOCUMENTS SUBMITTED BY BOOKSTORE
                         PLAINTIFFS

   E        Reply Declaration of Dr. Elliott D. Sclar             2039


Dated:       New York, New York
             March 15, 2019




                                          6
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 7 of 27




                            Respectfully submitted,

                            DANIEL A. SILVER
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                            (860) 225-3518
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                            Attorneys for Plaintiffs
                            725 Eatery Corp., etc., et ano.

                            By: s/ Jennifer M. Kinsley
                                   Jennifer M. Kinsley


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                            New York, New York 10001
                            (212) 245-2222

                            Attorneys for Plaintiffs
                            59 Murray Enterprises, Inc., et al.


                            By: s/Edward S. Rudofsky __________
                                  Edward S. Rudofsky




                               7
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 8 of 27




                            JOHN H. WESTON
                            G. RANDALL GARROU
                            WESTON, GARROU & MOONEY
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                            (310) 442-0072
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                            ABRAMSON & MORAK
                            35 Worth Street New York, NY 10013
                            (212) 226-7098

                            Attorneys for Plaintiffs
                            Club At 60th Street, Inc., etc., et al.


                            By: s/John Weston__________________
                                  John Weston

                            ERICA DUBNO
                            FAHRINGER & DUBNO
                            767 Third Avenue, Suite 3600
                            New York, New York 10017
                            (212) 319-5351

                            Attorney for Plaintiffs 336 LLC, et al.

                            By: s/Erica T. Dubno
                                   Erica T. Dubno




                               8
  Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 9 of 27




             (7) Block 705, Lot 1 (City’s Count # 23), 380 11th Avenue:




     LOOKING WEST

Block: 705, Lot: 1
                                                                                                                                                                                             Legend
                                                                                                                                            Transit, Roads, Reference Features
                                                                                                                                           Roads, ferries, commuter rail, neighborhood
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                                                                             24
                                                                                                                                                                              2005
 Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 10 of 27




        (8)     Block 706, Lot 1 (City’s Count # 24), 400 11th Avenue. This lot was

shown as white on the 1995 City Map and thus was not legally permissible at that time.

It was subsequently rezoned to C6-4 so it is now in a legally permissible zone. It is

within the Hudson Yards Development. However, only a tiny portion of it (at the

extreme southwest corner) is legally permissible for any adult use due to its proximity to

a C6-2 district contiguous to and immediately north of it. This lot is presently under

construction and is largely a huge excavation hole in the ground. There will be no

occupiable premises for at least two years, and the signs at the construction site state that

occupancy will not commence until December of 2021. Consequently, it is presently

encumbered and/or otherwise unavailable for any commercial use. Once built, there will

be a high-rise office building with limited commercial space, but it will not be

commercially feasible for any adult use. This lot should be excluded because it is fully

encumbered and/or otherwise unavailable for any commercial use today and also because

there is no realistic likelihood it will be available for any adult use.

        I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                           25
                                                                                       2006
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 11 of 27




      (8) Block 706, Lot 1 (City’s Count # 24), 400 11th Avenue:




  LOOKING NORTH




idewalk Clo·s d
  Please use




                                    26
                                                                   2007
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 12 of 27




    (8) Block 706, Lot 1 (City’s Count # 24), 400 11th Avenue:




 LOOKING EAST




                Work In Progress: COMMERCIAL
                Antid,ate11 Completion: OK1tmber 2021
                Owner.
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Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 13 of 27




           (8) Block 706, Lot 1 (City’s Count # 24), 400 11th Avenue:


                                                                                                                                                                       Legend
                                                                                                                                  Transit, Roads, Reference Features
                                                                                                                                 Roads, ferries, commuter rail, neighborhood
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                                                                      28
                                                                                                                                                          2009
 Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 14 of 27




       (9)     Block 1094, Lot 11 (City’s Count # 35), 638 West 47th Street. The City

identified this lot as legally permissible in its 1995 Map.       It remains in a legally

permissible zone today. However, the entirety of the lot is within 500 feet of the site of

the now-closed Esquire Gentlemen’s Club, an adult site at 622 W. 47th St. which, though

not currently presenting adult entertainment, has a certificate of occupancy allowing adult

use (the Esquire site is shown as "adult" on my prior map “1-I”). Apart from its

disqualification due to proximity to an adult use, this lot will not be available to any new

commercial use whatsoever for 3 to 4 years because the property, currently occupied by a

car wash taking up the entirety of the lot, has been purchased by an owner-user which

intends to build its own new building on the lot. It will not be commercially available to

anyone for 3 to 4 years. This lot is legally impermissible in its entirety for an adult

business due to its proximity to the Esquire location.       However, it should also be

excluded because it will be unavailable for any commercial use for at least 3-4 years.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                        29
                                                                                      2010
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 15 of 27




    (9) Block 1094, Lot 11 (City’s Count # 35), 638 West 47th Street:




 LOOKING NORTH




 LOOKING SOUTH

                                  30
                                                                        2011
               Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 16 of 27




                           (9) Block 1094, Lot 11 (City’s Count # 35), 638 West 47th Street:




                  LOOKING EAST
Block: 1094, Lot: 11
                                                                                                                                                                                              Legend
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                                                                                           31
                                                                                                                                                                                                2012
 Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 17 of 27




       (10)    Block 1094, Lot 12 (City’s Count # 36), 639 West 46th Street. The City

identified this lot as legally permissible on its 1995 Map.       It remains in a legally

permissible zone today. However, the entirety of the lot is within 500 feet of the site of

the now-closed Esquire Gentlemen’s Club, an adult site at 622 W. 47th St. which, though

not currently presenting adult entertainment, has a certificate of occupancy allowing adult

use (the Esquire site is shown as "adult" on my prior map “1-I”). If the Esquire location

were deemed not to be a disqualifying adult entertainment site for surrounding new

businesses, approximately 78% of the 125 feet of lot frontage (where the doors would be)

would be indisputably disqualified for adult use occupation because it is within 500 feet

of a residential zone. In my opinion, but for its proximity to the Esquire location, it

would be potentially commercially viable for an adult live entertainment use since the

front doors to such a business could be located in the 28 feet of the lot frontage which is

not within 500’ of the nearby residential zone. This lot should be excluded as legally

impermissible in its entirety due to its proximity to the Esquire adult location but would

be otherwise potentially commercially viable for a new adult business.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                        32
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 18 of 27




    (10) Block 1094, Lot 12 (City’s Count # 36), 639 West 46th Street:




 LOOKING NORTH




 LOOKING NORTH

                                  33
                                                                         2014
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 19 of 27




    (10) Block 1094, Lot 12 (City’s Count # 36), 639 West 46th Street:




 LOOKING EAST




 LOOKING WEST

                                  34
                                                                         2015
              Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 20 of 27




                         (10) Block 1094, Lot 12 (City’s Count # 36), 639 West 46th Street:

Block: 1094, Lot: 12
                                                                                                                                                                                           Legend
                                                                                                                                       Transit, Roads, Reference Features
                                                                                                                                     Roads, ferries, commuter rail, neighborhood
                                                                                                                                     names
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                                                                                      35
                                                                                                                                                                                           2016
 Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 21 of 27




       (11)    Block 1094, Lot 17 (City’s Count # 37), 629 West 46th Street. The City

identified this lot as legally permissible on its 1995 Map.       It remains in a legally

permissible zone today. However, the entirety of the lot is within 500 feet of the site of

the now-closed Esquire Gentlemen’s Club, an adult site at 622 W. 47th St. which, though

not currently presenting adult entertainment, has a certificate of occupancy allowing adult

use (the Esquire site is shown as "adult" on my prior map “1-I”). However, even if the

Esquire location were not deemed to be a disqualifying adult entertainment site for

surrounding new businesses, approximately 50% of the lot would independently be

disqualified by proximity to a residential zone.      Finally, this lot is also presently

encumbered and/or will otherwise be unavailable for any commercial use for at least

several years because the entirety of this lot was recently purchased by an end-user for

construction of an eight-story building which will not even commence for another year.

The building will not be open for occupancy for at least four years. This lot is legally

impermissible in its entirety due to its proximity to the Esquire location. However, if the

Esquire location is not deemed to be a disqualifying adult entertainment site for nearby

new adult businesses, the lot should be excluded because it will be unavailable to any

commercial use for at least four years.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                          36
                                                                                     2017
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 22 of 27




    (11) Block 1094, Lot 17 (City’s Count # 37), 629 West 46th Street:




 LOOKING NORTH




 LOOKING SOUTH

                                  37
                                                                         2018
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 23 of 27




    (11) Block 1094, Lot 17 (City’s Count # 37), 629 West 46th Street:




 LOOKING EAST




 LOOKING WEST

                                  38
                                                                         2019
              Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 24 of 27




                         (11) Block 1094, Lot 17 (City’s Count # 37), 629 West 46th Street:

Block: 1094, Lot: 17
                                                                                                                                                                                       Legend



                                                                                                                                   --- - --
                                                                                                                                    Transit, Roads, Reference Features
                                                                                                                                   Roads, ferries, commuter rail, neighborhood



                                                                                                                                   ---R-
                                                                                                                                   names

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                                                                                     39
                                                                                                                                                                                        2020
 Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 25 of 27




       (12)    Block 1095, Lot 11 (City’s Count # 38), 620 Joe DiMaggio Highway.

The City identified this lot as legally permissible on its 1995 Map. It remains in a legally

permissible zone today. However, the entirety of the lot is within 500 feet of the site of

the now-closed Esquire Gentlemen’s Club, an adult site at 622 W. 47th St. which, though

not currently presenting adult entertainment, has a certificate of occupancy allowing adult

use (the Esquire site is shown as "adult" on my prior map “1-I”). This lot is legally

impermissible in its entirety due to its proximity to the Esquire location. If the Esquire

location is not deemed to be a disqualifying adult entertainment site for nearby new adult

businesses, then this location would be both presently legally permissible and,

theoretically, commercially viable for an adult use.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                        40
                                                                                      2021
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 26 of 27




    (12) Block 1095, Lot 11 (City’s Count # 38), 620 Joe DiMaggio Highway:




 LOOKING NORTH




 LOOKING SOUTH

                                 41
                                                                         2022
Case 1:02-cv-08333-LJL Document 99 Filed 03/15/19 Page 27 of 27




    (12) Block 1095, Lot 11 (City’s Count # 38), 620 Joe DiMaggio Highway:




 LOOKING SOUTH




 LOOKING EAST

                                 42
                                                                         2023
